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                                   3                                  UNITED STATES DISTRICT COURT

                                   4                                 NORTHERN DISTRICT OF CALIFORNIA

                                   5

                                   6     OYSTER OPTICS, LLC,                                  Case No. 4:17-cv-05920-JSW

                                   7                    Plaintiff,

                                   8             v.
                                                                                              CLAIM CONSTRUCTION ORDER
                                   9     CIENA CORPORATION,
                                                                                              Re: Dkt. Nos. 97, 99
                                  10                    Defendant.

                                  11

                                  12          The Court has been presented with a technology tutorial and briefing leading up to a
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                                  13   hearing pursuant to Markman v. Westview Instruments, Inc., 517 U.S. 370 (1996). This Order
                                  14   construes the disputed claim terms selected by the parties, which appear in the patents at issue in
                                  15   this case: U.S. Patent Nos. 7,620,327 (the “’327 Patent”), 8,374,511 (the “’511 Patent”), and
                                  16   8,913,898 (the “’898 Patent”).
                                  17                                             BACKGROUND
                                  18   A.     The Asserted Patents
                                  19          Plaintiff Oyster Optics LLC (“Oyster”) asserts that defendant Ciena Corporation (“Ciena”)
                                  20   infringes three of its patents. The patents are related and share a common specification. The ’511
                                  21   Patent is a continuation of the ’327 Patent, while the ’898 Patent is, in turn, a continuation of the
                                  22   ’511 Patent.
                                  23          The common specification describes a transceiver card for secure communications over
                                  24   fiber optic networks. (See ’327 Patent at 1:11-13, 2:22-24.) Fiber optic networks use light to
                                  25   communicate. (See id. at 1:20-35.) In traditional transceiver cards, a “transmitter” modulates the
                                  26   amplitude of a light beam (creating an “optical signal”) to transmit data. (Id. at 1:25-30.) A
                                  27   “receiver,” in turn, converts the light back into data by reading electronic output. (Id. at 1:30-33.)
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                                   1   Because the amplitude of light relates to its energy, the receiver need only determine if the light

                                   2   produces an electronic output to generate a stream of zeros and ones. (Id. at 1:40-44.)

                                   3          Traditional receiver cards suffer from lack of security. (Id. at 1:50-51.) An attacker may

                                   4   “tap” the fiber optic cable by adding or removing light from the system. (Id. at 3:27-34.) To solve

                                   5   this problem, the asserted patents propose the use of an “energy level detector” coupled between

                                   6   the receiver and its fiber input. (Id. at 2:38-40.) The energy level detector monitors the energy of

                                   7   the incoming light and generates an alert if there is a drop or increase indicating a potential tap.

                                   8   (Id. at 3:20-34.) To prevent the light from accidentally setting off the alarms, the patents

                                   9   preferably use phase modulation—as opposed to amplitude modulation—which (the specification

                                  10   states) enables better tap detection because “the amplitude of the optical signal is constant” and “a

                                  11   drop in the optical signal level is more easily detected.” (Id. at 4:39-47.)

                                  12          Figure 2 shows the common transceiver card architecture below. A transmitter 10
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                                  13   (outlined in dashed lines at the top) contains a laser 12 that beams light and a modulator 16 that

                                  14   encodes data into that light. (Id. at 4:25-38.) A receiver 11 (outlined in dashed lines below the

                                  15   transmitter) has an optical receiver 32 that converts the optical signal back into data. (Id. at 4:64-

                                  16   67.) Optical signals exit the transmitter through fiber 110 and enter the receiver through fiber 111.

                                  17   (Id. at 4:26-27, 4:48-49.) While entering the receiver, some of the light from the optical signal is

                                  18   diverted using splitters 31 and 131 to the energy level detector 33 and a similar component called

                                  19   the OTDR, which detects fiber breaches. (Id. at 4:40-64, 2:5-8.) Information from both of these

                                  20   components is sent to the processor in order to, for example, generate an alert for network

                                  21   maintenance personnel. (Id. at 5:1-19.)

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                                  13   (Id. at Fig. 2.)

                                  14            Claim 1 of the ’327 Patent recites:

                                  15            1. A transceiver card for a telecommunications box for transmitting data over a first optical
                                  16            fiber and receiving data over a second optical fiber, the card comprising:

                                  17                      a transmitter for transmitting data over the first optical fiber, the transmitter having
                                                          a laser, a modulator, and a controller receiving input data and controlling the
                                  18                      modulator as a function of the input data, the transmitter transmitting optical
                                                          signals for telecommunication as a function of the input data;
                                  19

                                  20                      a fiber output optically connected to the laser for connecting the first optical fiber to
                                                          the card;
                                  21
                                                          a fiber input for connecting the second optical fiber to the card;
                                  22
                                                          a receiver optically connected to the fiber input for receiving data from the second
                                  23
                                                          optical fiber; and
                                  24
                                                          an energy level detector optically connected between the receiver and the fiber
                                  25                      input to measure an energy level of the optical signals, wherein the energy level
                                                          detector includes a plurality of thresholds.
                                  26
                                  27
                                       //
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                                   1            Claim 1 of the ’511 Patent recites:

                                   2            1. A method for operating an optical fiber multiplexor comprising:
                                   3
                                                       feeding input data to a controller of a transmitter of a telecommunications box, the
                                   4                   telecommunications box having an electronic data input for the input data and an
                                                       electronic data output;
                                   5
                                                       using the controller, controlling a modulator to modulate light from a laser as a
                                   6
                                                       function of the input data;
                                   7
                                                       sending the modulated light as an optical signal from the transmitter over an optical
                                   8                   fiber;

                                   9                   receiving the optical signals from the optical fiber at a receiver of a further
                                                       telecommunications box and converting the optical signals to electronic output
                                  10
                                                       data;
                                  11
                                                       passing the optical signals to a photodetector to produce an electric signal; and
                                  12
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                                                       filtering the electrical signal to produce an average optical power.
                                  13

                                  14            Claim 1 of the ’898 Patent recites:
                                  15
                                                1. A transceiver card for a telecommunications box for transmitting data over a first optical
                                  16            fiber and receiving data over a second optical fiber, the transceiver card comprising:

                                  17                   a transmitter having a laser, a modulator, and a controller configured to receive
                                                       input data and control the modulator to generate a first optical signal as a function
                                  18                   of the input data;
                                  19
                                                       a fiber output optically connected to the transmitter and configured to optically
                                  20                   connect the first optical fiber to the transceiver card;

                                  21                   a receiver configured to receive a second optical signal from the second optical
                                                       fiber and to convert the second optical signal to output data;
                                  22

                                  23                   fiber input optically connected to the receiver and configured to optically connect
                                                       the second optical fiber to the transceiver card; and
                                  24
                                                       an energy level detector optically connected between the receiver and the fiber
                                  25                   input to measure an energy level of the second optical signal, wherein the energy
                                                       level detector includes a plurality of thresholds.
                                  26
                                  27   //

                                  28   //
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                                   1   B.     Procedural Background

                                   2          The patents-at-issue were previously asserted and construed in Oyster Optics, LLC v.

                                   3   Coriant Am. Inc., No. 2:16-CV-1302-JRG (E.D. Tex., filed Nov. 24, 2016). There, the court

                                   4   construed the terms “phase modulate,” “receiver,” and “the optical signals,” also at issue in this

                                   5   Order. See Oyster Optics, LLC v. Coriant Am. Inc., No. 2:16-CV-1302-JRG, 2017 WL 6026729,

                                   6   at **4-9, **16-19, **19-22 (E.D. Tex. Dec. 5, 2017). The defendants then sought reconsideration

                                   7   of the term “receiver,” which was denied. Oyster Optics, LLC v. Coriant Am. Inc., No. 2:16-CV-

                                   8   1302-JRG, 2018 WL 7019353 (E.D. Tex. Mar. 2, 2018). Finally, the defendants sought summary

                                   9   judgment based on the absence of “phase modulation” in their products, which led the court to

                                  10   further clarify its construction of the term. Oyster Optics, LLC v. Coriant Am. Inc., No. 2:16-CV-

                                  11   1302-JRG, 2018 WL 3067727 (E.D. Tex. June 21, 2018). The table below summarizes the final

                                  12   constructions in that litigation relevant to this Order:
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                                  13
                                                              Term                                         E.D. Tex. Construction
                                  14
                                        the optical signals                                    the optical signals received on the fiber input
                                  15                                                           from the second optical fiber
                                        receiver                                               “receiver without a demodulator” in the ’898
                                  16                                                           Patent
                                                                                               “receiver” (plain meaning) in the ’327 and
                                  17                                                           ’511 Patents
                                  18    phase modulate                                         alter the phase of light to create an optical
                                                                                               signal having a phase that is representative of
                                  19                                                           data. User of phase modulation excludes use
                                                                                               of amplitude modulation.
                                  20
                                              In addition to the Texas litigation, the asserted patents have been construed in inter partes
                                  21
                                       review (“IPR”). In IPR2017-02173 and IPR2018-00259, the examiner denied institution of ’327
                                  22
                                       Patent IPRs, in part, because “optical signals” was construed to refer to the signals transmitted by
                                  23
                                       the transmitter. (See Dkt. No. 100-6 (“IPR2017-02173 Institution Decision”) at 17, 23-27; Dkt.
                                  24
                                       No. 100-8 (“IPR2018-00259 Institution Decision”) at 17-18.) Also, in IPR 2018-00070 and
                                  25
                                       IPR2017-01881, the examiner construed “transmitter having a laser” in the ’898 Patent as a
                                  26
                                       transmitter “holding, including, or containing a laser.” (Dkt. No. 100-10 (“IPR2018-00070
                                  27
                                       Institution Decision”) at 18; Dkt. No. 100-13 (“IPR2017-01881 Institution Decision”) at 13.)
                                  28
                                                                                           5
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                                   1                                               ANALYSIS

                                   2   A.     Legal Background
                                   3          Claim construction is a question of law for the Court. Markman, 517 U.S. at 384. It is a

                                   4   “bedrock principle” of patent law that “the claims of a patent define the invention to which the

                                   5   patentee is entitled the right to exclude.” Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir.

                                   6   2005) (en banc). “The purpose of claim construction is to determine the meaning and scope of the

                                   7   patent claims asserted to be infringed.” O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521

                                   8   F.3d 1351, 1360 (Fed. Cir. 2008). The Court has an obligation to assign “a fixed, unambiguous,

                                   9   legally operative meaning to the claim” in order to “ensure that questions of the scope of the

                                  10   patent claims are not left to the jury.” Every Penny Counts, Inc. v. Am. Express Co., 563 F.3d

                                  11   1378, 1383 (Fed. Cir. 2009) (quotation omitted).

                                  12          Claim terms are generally given “their ordinary and customary meaning”—i.e., “the
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                                  13   meaning that the terms would have to a person of ordinary skill in the art at the time of the

                                  14   invention.” Phillips, 415 F.3d at 1312-13. There are only two exception to this rule: (1) “when a

                                  15   patentee sets out a definition and acts as his own lexicographer,” and (2) “when the patentee

                                  16   disavows the full scope of a claim term either in the specification or during prosecution.” Thorner

                                  17   v. Sony Computer Ent. Am. LLC, 669 F.3d 1362, 1365 (Fed. Cir. 2012).

                                  18          In determining the ordinary and customary meaning, the claim language “provide[s]

                                  19   substantial guidance as to the meaning of particular claim terms.” Phillips, 415 F.3d at 1314.

                                  20   Additionally, “the context in which a claim term is used in the asserted claim can be highly

                                  21   instructive.” Id. However, a person of ordinary skill in the art is “deemed to read the claim term

                                  22   not only in the context of the particular claim in which the disputed term appears, but in the

                                  23   context of the entire patent, including the specification.” Id. at 1313. The specification “is always

                                  24   highly relevant to the claim construction analysis” and is usually “dispositive.” Id. at 1315. The

                                  25   scope of the claims must be “determined and confirmed with a full understanding of what the

                                  26   inventors actually invented and intended to envelop with the claim.” Id. at 1316 (quoting

                                  27   Renishaw PLC v. Marposs Soceta’ per Azioni, 158 F.3d 1243, 1250 (Fed. Cir. 1998)). Thus, the

                                  28   construction that “stays true to the claim language and most naturally aligns with the patent’s
                                                                                          6
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                                   1   description of the invention will be, in the end, the correct construction.” Id.

                                   2          In addition to the claims and the specification, the prosecution history may be used “to

                                   3   provide[] evidence of how the PTO and the inventor understood the patent.” Id. at 1317. Id.

                                   4   “[A]ny explanation, elaboration, or qualification presented by the inventor during patent

                                   5   examination is relevant, for the role of claim construction is to ‘capture the scope of the actual

                                   6   invention’ that is disclosed, described and patented.” Fenner Inv., Ltd. v. Cellco P’ship, 778 F.3d

                                   7   1320, 1323 (Fed. Cir. 2015). The claims, specification, and prosecution history together constitute

                                   8   the “intrinsic evidence” that forms the primary basis for claim construction. Phillips, 415 F.3d at

                                   9   1312-17 (citation omitted). Courts may also consider extrinsic evidence if it is “helpful in

                                  10   determining the ‘true meaning of language used in the patent claims’” and is not contradicted by

                                  11   the intrinsic evidence. Id. at 1318 (quoting Markman, 52 F.3d at 980).

                                  12   B.     “the optical signals”
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                                  13
                                               Oyster’s Proposed Construction                        Ciena’s Proposed Construction
                                  14
                                        “the optical data signals received on the fiber       “transmitting optical signals” is the antecedent
                                  15    input from the second optical fiber”                  basis for “the optical signals.”

                                  16                                                          Otherwise, indefinite.

                                  17
                                              The term “the optical signals” appears in claims 1, 14, 25, and 36 of the ’327 Patent. It
                                  18
                                       also appears—without dispute over claim construction—in claims 1 and 9 of the ’511 Patent. The
                                  19
                                       ’327 Patent claims recite (1) a transmitter that transmits “optical signals for telecommunication”
                                  20
                                       over a first optical fiber, (2) a receiver that receives “data” from a second optical fiber, and (3) an
                                  21
                                       energy level detector coupled between the receiver and the second optical fiber input “to measure
                                  22
                                       an energy level of the optical signals.”
                                  23
                                              The parties dispute the antecedent basis for “the optical signals.” Ciena contends that the
                                  24
                                       only antecedent basis for the term is the “optical signals for telecommunication” transmitted by the
                                  25
                                       transmitter. Oyster disagrees and counters that such construction makes no sense in the context of
                                  26
                                       the claims and the invention. Oyster argues, instead, that the antecedent basis for “optical signals”
                                  27
                                       is the implied optical signal received by the receiver. In the Texas litigation, the court agreed with
                                  28
                                                                                          7
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                                   1   Oyster and found that Ciena’s construction “would appear to result in inoperability and is

                                   2   therefore disfavored.” Oyster Optics, 2017 WL 6026729, at *21. However, in the IPRs for the

                                   3   ’327 Patent, the examiner found that “the optical signals” referred to the transmitted signals. (See

                                   4   IPR2017-02173 Institution Decision at 17.)

                                   5           As an initial matter, the Court finds that the claims and specification support Oyster’s

                                   6   construction.1 Ciena’s construction has two interpretations, both of them implausible. First,

                                   7   Ciena’s construction could mean that the energy level detector measures the optical signals before

                                   8   they are transmitted by the transmitter. However, as shown in Figure 2, the energy level detector

                                   9   is located within the receiver, not the transmitter. The claims expressly require the energy level

                                  10   detector to be “optically connected between the receiver and the fiber input.” (See, e.g., ’327

                                  11   Patent at claim 1.) The specification provides no hint of measuring the energy of the transmitted

                                  12   signals, but consistently describes measuring the energy of the received signals. (See id. at 2:38-
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                                  13   40, 5:6-7, claim 9, claim 33.) Indeed, the specification expressly states that “the energy level

                                  14   detector must be at the receiver side.” (Id. at 6:48-49 (emphasis added).)

                                  15           The second interpretation of Ciena’s construction is that the optical signals are transmitted

                                  16   over the first optical fiber, but are then “looped back” to the receiver over the second optical fiber.

                                  17   This interpretation is pure conjecture. The claims require two optical fibers—one for transmitting

                                  18   and another for receiving optical signals. (Id. at claims 1, 14, 25, 36.) The second interpretation

                                  19   requires imagining a component on the other side of the transceiver card, such as a router, that

                                  20   receives the optical signals and sends them back to the same transceiver card. (See Dkt. No. 100-

                                  21   22 at 98:19-99:4.) But the specification makes no mention of such components.2

                                  22

                                  23   1
                                         The Court has reviewed the examiner’s construction in the IPRs and respectfully disagrees. The
                                  24   examiner’s decision relies on a strict application of antecedent basis and consideration of the
                                       prosecution history. However, the examiner did not consider the claims in the context of the
                                  25   specification or explain how the invention would work if construed as stated. The Court declines
                                       to adopt a construction divorced from the specification. Phillips, 415 F.3d at 1321; see Wi-Fi
                                  26   One, LLC v. Broadcom Corp., 887 F.3d 1329, 1346 (Fed. Cir. 2018) (construing claims to be
                                       “faithful to the invention” despite clear claim language).
                                  27   2
                                         Of course, the specification also does not mention another transceiver for sending the optical
                                  28   signals received by the receiver. However, because the ordinary function of transceivers is to
                                       communicate with other transceivers, the other transceivers may be assumed. (See id. at 3:34-35.)
                                                                                         8
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                                   1           On the contrary, the specification criticizes prior art systems that “require the light to travel

                                   2   over a loop” because they “do not work particularly well with existing multiplexors or card

                                   3   formats.” (’327 Patent at 1:57-65.) The inventions, on the other hand, are meant to work with

                                   4   standard optical fibers and replace existing transceiver cards. (See id. at 3:34-55, 2:59-3:3; see

                                   5   also id. at 3:43-55 (describing manufacturing methods for creating the invention that do not

                                   6   require rerouting optic fibers).) Oyster further convincingly argues that sending and receiving data

                                   7   on the same transceiver card serves no useful communication purpose.3 (Cf. id. at Fig. 2 (showing

                                   8   different data streams for “transmit” and “received”).) The claims and specification thus support

                                   9   neither of Ciena’s possible interpretations, but are naturally read to require measuring the energy

                                  10   of the (implied) received optical signal.4

                                  11           Nevertheless, during prosecution, Oyster made statements referring to measured “optical

                                  12   signals” as “transmitted” signals. During prosecution, the examiner rejected the claims over U.S.
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                                  13   Patent Application 2002/0196501 to Buss in view of U.S. Patent No. 5,680,234 to Darcie. (Dkt.

                                  14   No. 97-9 (“Jan. 21, 2009 Rejection”) at 4.) In response, Oyster amended the claims to add that the

                                  15   transmitter “transmit[s] optical signals for telecommunications as a function of the input data,”

                                  16   and that the energy level detector “measure[s] the energy level of the optical signals.” (Feb. 13,

                                  17   2009 Amendment at 4 (emphasis added).)

                                  18           Oyster argued that Darcie does not disclose these limitations because it “does not measure

                                  19   an energy level of the optical signals for telecommunication as claimed, but rather only those of a

                                  20   diagnostic signal” and, further, “it would not have been obvious to measure the telecommunication

                                  21   signal of Buss with the Darcie diagnostic receiver for optical power” because “Darcie’s power

                                  22

                                  23   3
                                         Oyster’s contention is supported by the prosecution history and, in particular, the IPRs, where
                                  24   the examiner found no motivation to combine to add a loopback. (IPR2018-00258 at 23-25.) The
                                       examiner noted that Ciena’s proposed loopback reference discloses measuring the energy of a
                                  25   “monitor signal,” not a “communication signal,” similar to Darcie from the file history. (See id. at
                                       24-25.) That Ciena’s best prior art provides no reason to measure looped-back communication
                                  26   signals (as opposed to diagnostic signals) underscores the lack of useful purpose.
                                       4
                                  27     At the claim construction hearing, Ciena did not dispute that “the optical signals” refers to the
                                       received signals but only argued that those signals are the same as the transmitted ones. (Cf. Dkt.
                                  28   No. 120-1 at 22.) There is therefore no dispute that interpreting “the optical signals” as “received”
                                       signals represents the ordinary meaning apparent from the claims and specification.
                                                                                         9
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                                   1   measurement relates to the diagnostic signals.” (Id. at 12.) Oyster also stated as follows:

                                   2

                                   3

                                   4

                                   5

                                   6
                                       (Id.)
                                   7           Ciena now argues that this amendment demonstrates that “the optical signals” refers to the
                                   8   signals transmitted by the transmitter. By amending both limitations simultaneously, the
                                   9   amendment purportedly relates “the optical signals” back to the transmitted “optical signals for
                                  10   telecommunication.” Moreover, Oyster’s statement (reproduced above) appears to refer to “the
                                  11   transmitted optical signals,” potentially confirming the antecedent basis for the term.
                                  12           However, on balance, the Court finds that the prosecution history is not so clear and
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                                  13   unmistakable as to require deviation from the ordinary meaning apparent from the claims and
                                  14   specification. The remarks as a whole focus on Darcie’s use of “diagnostic” signals, not the
                                  15   measurement of “transmitted optical signals.” Read in context, the reference to “transmitted
                                  16   optical signals” refers to signals transmitted for telecommunication (by any transceiver), not the
                                  17   specific signals sent by the transmitter. Moreover, measuring the energy level of “transmitted”
                                  18   signals would not have distinguished Darcie, which also uses a loop-back configuration.5 (See
                                  19   U.S. Patent No. 5,680,234 at 3:9-17.) Finally, the remainder of the prosecution history does not
                                  20   support Ciena’s interpretation. The ’511 Patent—which the parties agree requires measuring the
                                  21   energy of transmitted signals—expressly recites a second telecommunications box for the receiver,
                                  22   which shows that Oyster knew how to claim additional components when needed to perform
                                  23   communication, but did not do so for the ’327 Patent.
                                  24

                                  25   5
                                         Ciena argues that its construction does not require a loopback. However, Ciena cannot have it
                                  26   both ways. Either the energy level detector measures signals before they are transmitted (contrary
                                       to the claims, specification, and purpose of detecting optic fiber taps), or the signals are
                                  27   transmitted over the first optic fiber and measured after they are received on the second optic fiber,
                                       which requires a loopback. That the claims may use additional components, such as a router, does
                                  28   not change the basic nature of a loop.

                                                                                        10
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                                   1           In short, the claim construction here presents a choice between a technical application of

                                   2   antecedent basis that defeats the purpose of the invention and requires imagining an unusual

                                   3   configuration of undisclosed components, and a reading that finds antecedent basis in an implied

                                   4   received signal. The first reading is that of a lawyer; the second reading is that of a person of

                                   5   ordinary skill in the art. The second reading governs. See Phillips, 415 F.3d at 1313 (requiring

                                   6   person of ordinary skill perspective). For the same reason, the lack of express antecedent basis

                                   7   does not render the claims indefinite. See Halliburton Energy Servs., Inc. v. M-I LLC, 514 F.3d

                                   8   1244, 1249 (Fed. Cir. 2008) (explaining that lack of antecedent basis renders claims indefinite

                                   9   only if such basis “is not otherwise present by implication” and the meaning “is not reasonably

                                  10   ascertainable”); see also Nautilus, Inc. v. Biosig Instr., Inc., 572 U.S. 898 (2014) (finding that

                                  11   claims are indefinite if they fail to confirm scope of invention “with reasonable certainty” when

                                  12   “read in light of the specification”).
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                                  13           Accordingly, the Court construes “optical signals” as “the optical signals received on the

                                  14   fiber input from the second optical fiber.”

                                  15   C.      “receiver”
                                  16
                                               Oyster’s Proposed Construction                     Ciena’s Proposed Construction
                                  17    ’898 Patent: “receiver without a modulator”        “receiver without a modulator”
                                  18
                                        ’327 and ’511 Patents: No construction
                                  19    necessary

                                  20           The term “receiver” appears in all independent claims of the ’327, ’511, and ’898 Patents.
                                  21   The parties agree that the ordinary meaning of a “receiver” is not limited to receivers without
                                  22   demodulators but further agree that the prosecution history limits the term to a “receiver without a
                                  23   demodulator” in the ’898 Patent. However, Ciena contends that the same limitation should apply
                                  24   to the ’327 and ’511 Patents based on the statements in the ’898 Patent prosecution history.
                                  25           The case presents an unusual scenario for two reasons. First, the ’898 Patent is later-issued
                                  26   patent while Ciena seeks to limit the earlier-issued ’327 and ’511 Patents that derived from its
                                  27   parent application. The ’898 Patent is a continuation of the ’511 Patent (its “parent”), which in
                                  28   turn is a continuation of the ’327 Patent (the “grandparent”). The statements-at-issue were made
                                                                                         11
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                                   1   during prosecution of the ’898 Patent, approximately four years after the ’327 Patent issued and

                                   2   eight months after the ’511 Patent issued. (See Dkt. No. 97-12 (“Oct. 21, 2013 Amend.”) at 3, 9.)

                                   3           Second, the statements purportedly limiting the meaning of the term “receiver” were made

                                   4   in response to an enablement rejection, not a novelty one. During prosecution of the ’898 Patent,

                                   5   the examiner rejected claims reciting a “receiver having a demodulator” because such receivers

                                   6   are “not described in the specification in such a way as to enable one skilled in the art to which it

                                   7   pertains . . . to make and/or use the invention.” (Dkt. No. 97-11 (“Jun. 26, 2013 Reject.”) at 5.) In

                                   8   response, Oyster amended the claims to strike “having a demodulator,” leaving only “a receiver,”

                                   9   as shown below. (Oct. 21, 2013 Amend. at 3.) Oyster then successfully argued that the amended

                                  10   claims complied with the enablement requirement. (Id. at 12.)

                                  11

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                                  13   (Id. at 3.)

                                  14           Accordingly, the Court addresses two issues: first, whether statements made during

                                  15   prosecution of a child application can limit the scope of earlier-issued parent-application claims,

                                  16   and second, whether an amendment made for purposes of enablement justifies limiting the scope

                                  17   of related claims.

                                  18           1.     Does Disclaimer in the Prosecution History of a Child Application Limit
                                                      Parent Application Claims?
                                  19
                                               Beginning with the first issue, it is well-settled that “[a] statement made during prosecution
                                  20
                                       of related patents may be properly considered in construing a term common to those patents,
                                  21
                                       regardless of whether the statement pre- or post-dates the issuance of the particular patent at
                                  22
                                       issue.” Teva Pharma. USA, Inc. v. Sandoz, Inc., 789 F.3d 1335, 1343 (Fed. Cir. 2015) (citing
                                  23
                                       Microsoft Corp. v. Multi-Tech Sys., Inc., 357 F.3d 1340, 1350 (Fed. Cir. 2004)); see also Verizon
                                  24
                                       Serv. Corp. v. Vonage Holdings Corp., 503 F.3d 1295, 1307 (Fed. Cir. 2007) (using statements in
                                  25
                                       sibling application prosecution to construe already-issued patent); Apple Inc. v. Motorola, Inc.,
                                  26
                                       757 F.3d 1286, 1312 (Fed. Cir. 2014) (recognizing that “statements made in related, later-
                                  27
                                       prosecuted U.S. patents may inform the meaning of earlier issued claims”). That is because the
                                  28
                                                                                         12
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                                   1   prosecution history demonstrates how the inventor understood the inventions, which is relevant to

                                   2   all related patents in which term is used. See Microsoft, 357 F.3d at 1350; see also Phillips, 415

                                   3   F.3d at 1317 (explaining that the prosecution history “provides evidence of how the PTO and the

                                   4   inventor understood the patent”).

                                   5          That does not, however, mean that prosecution disclaimer made for a child application

                                   6   applies with full force to claims derived from a parent application. When discussing disclaimer,

                                   7   the Federal Circuit has generally cabined estoppel to subsequent applications only. See, e.g.,

                                   8   Cordis Corp. v. Boston Sci. Corp., 658 F.3d 1347, 1356 n.5 (Fed. Cir. 2011) (“[A] disclaimer

                                   9   made in the parent application carries forward into the construction of the same claim term in the

                                  10   child.” (citing Verizon, 503 F.3d at 1306)); Omega Eng’g, Inc. v. Raytek Corp., 334 F.3d 1314,

                                  11   1333 (Fed. Cir. 2003) (“[P]rosecution disclaimer may arise from disavowals made during the

                                  12   prosecution of ancestor patent applications.”); Augustine Med., Inc. v. Gaymar Indus., Inc., 181
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                                  13   F.3d 1291, 1300 (Fed. Cir. 1999) (“[T]he prosecution of a parent application may limit the scope

                                  14   of a later application using the same claim term.”). In certain contexts, the court also applied

                                  15   disclaimer to claims derived from sibling applications. E.g., Verizon, 503 F.3d at 1307.

                                  16          However, the parties have not cited—and the Court has not found—any case where

                                  17   disclaimer made during prosecution of a child application applied retroactively to claims derived

                                  18   from a parent application. The Texas court similarly found “no authority which permits a

                                  19   disclaimer to be imputed from a progeny to ancestor when it is not, as Microsoft requires, a

                                  20   ‘representation of [the patentee’s] own understanding of the inventions disclosed in all [related]

                                  21   patents.’” Oyster, 2018 WL 7019353, at *4 (quoting Microsoft, 357 F.3d at 1350). Indeed,

                                  22   Microsoft apparently distinguished finding statements in a later prosecution “relevant” to claim

                                  23   construction and imposing disclaimer based on those statements. Although the court considered

                                  24   statements from a related patent prosecution, it affirmed Georgia-Pacific Corp. v. U.S. Gypsum

                                  25   Co., 195 F.3d 1322, 1333 (Fed. Cir. 1999), which declined to find the patent owner “bound by”

                                  26   statements made “in connection with later application after the patent in suit had already issued.”

                                  27   257 F.3d at 1350 (citing Georgia-Pacific, 195 F.3d at 1333). Microsoft thus suggests that while

                                  28   statements made in later-filed applications are relevant to already-issued claims if they describe
                                                                                        13
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                                   1   the common invention, the patentee is not bound by disclaimer made during those later

                                   2   applications in construing the earlier-issued claims.

                                   3          Ciena provides no policy rationale for extending prosecution disclaimer beyond these

                                   4   facts. Prosecution disclaimer has two policy justifications: first, it ensures that patent claims “are

                                   5   not ‘construed one way in order to obtain their allowance and in a different way against accused

                                   6   infringers,’” and second, it “protects the public’s reliance on definitive statements made during

                                   7   prosecution.” See Aylus Networks, Inc. v. Apple Inc., 856 F.3d 1353, 1359-60 (Fed. Cir. 2017)

                                   8   (quoting Omega Eng’g, 334 F.3d at 1323-24 and Southwall Techs., Inc. v. Cardinal IG Co., 54

                                   9   F.3d 1570, 1576 (Fed. Cir. 1995)). In Aylus, the court applied these rationales to find prosecution

                                  10   disclaimer based on statements made during IPR proceedings after the claims had issued. Id. at

                                  11   1360. The court found that holding patentees to the statements made during an IPR “will ensure

                                  12   that claims are not argued one way in order to maintain their patentability and in a different way
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                                  13   against accused infringers.” Id.

                                  14          But this justification does not apply to statements made during prosecution of a child

                                  15   application where the parent application has already issued. On the contrary, where the

                                  16   patentability of the parent claims has not been challenged, there is no danger of applying different

                                  17   constructions for purposes of infringement and validity. Moreover, the public notice function may

                                  18   not be served by enforcing prosecution disclaimer made for wholly different claims long after the

                                  19   parent application claims had issued. First, such statements are unlikely to achieve the type of

                                  20   “clear and unmistakable” disclaimer applicable to earlier claims that would justify a reasonable

                                  21   reliance. Cf. Power Integrations, Inc. v. ON Semiconductor Corp., 396 F. Supp. 3d 851, 364

                                  22   (N.D. Cal. 2019) (rejecting estoppel based on unreasonable reliance). Second, disclaimer could

                                  23   conceivably undermine public notice by changing the scope of the claims in a tangentially related

                                  24   proceeding without the benefit of established mechanisms of reexamination and reissue.

                                  25          Accordingly, based on the foregoing, the Court considers Oyster’s ’898 Patent statements

                                  26   as “relevant” to the construction of the “receiver” term in the ’327 and ’511 Patents, but does not

                                  27   apply prosecution disclaimer based on those statements.

                                  28
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                                              2.      Does Oyster’s Amendment for Purposes of Enablement Justify Limiting
                                   1                  Related Claims?
                                   2          Turning to the second issue, the Court considers whether Oyster’s amendment and

                                   3   apparent acquiescence to the examiner’s view that the common specification does not enable a

                                   4   “receiver having a demodulator” justify limiting the scope of the earlier-issued claims.

                                   5          As an initial matter, a prosecution amendment made in response to an enablement rejection

                                   6   typically creates disclaimer for the amended claims themselves. See, e.g., UCB, Inc. v. Yeda Res.

                                   7   & Dev. Co., Ltd., 837 F.3d 1256, 1260-61 (Fed. Cir. 2016); Biogen Idex, Inc. v. GlaxoSmithKline

                                   8   LLC, 713 F.3d 1090, 1095-97 (Fed. Cir. 2013). However, for the reasons stated in the previous

                                   9   section, the Court declines to apply later disclaimer to claims derived from ancestral applications.

                                  10   Ciena nevertheless argues that Oyster’s “admission” that the common specification does not

                                  11   enable a receiver having a demodulator justifies limiting those claims to preserve validity. See

                                  12   Athletic Alternatives, Inc. v. Prince Mfg., Inc., 73 F.3d 1573, 1581 (Fed. Cir. 1996) (preferring a
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                                  13   narrower construction where “there is an enabling disclosure that indicates that the applicant is at

                                  14   least entitled to a claim having the narrower meaning”).

                                  15          Assuming, without deciding, that Oyster’s amendment constitutes an admission that the

                                  16   common specification does not enable receivers with demodulators, the Court declines to limit the

                                  17   claims on that basis. An enablement rejection does not have a straightforward application to

                                  18   claims to recite fewer elements than those rejected. That is because enablement applies to “‘only

                                  19   the claimed invention,’ not matter outside the claims.” McRO, Inc. v. Bandai Namco Games Am.

                                  20   Inc., 959 F.3d 1091, 1100 (Fed. Cir. 2020) (quoting Union Carbide Chem. & Plastics Tech. Corp.

                                  21   v. Shell Oil Co., 308 F.3d 1167, 1186 (Fed. Cir. 2002)). Unclaimed elements generally do not

                                  22   need to be enabled, even if the claims are broad enough to cover them, as long the patent enables

                                  23   one mode of making and using the full invention. Edwards Lifesciences AG v. CoreValve, Inc.,

                                  24   699 F.3d 1305, 1309 (Fed. Cir. 2012); see, e.g., CFMT, Inc. v. Yieldup Int’l Corp., 349 F.3d 1333,

                                  25   1338 (Fed. Cir. 2003) (finding that patent does not need to enable a “perfected, commercially

                                  26   viable embodiment absent a claim limitation to that effect”); Durel Corp. v. Osram Sylvania Inc.,

                                  27   256 F.3d 1298, 1307 (Fed. Cir. 2001) (rejecting argument that claims needed to enable making

                                  28   claimed coatings from each precursor suggested in the specification).
                                                                                        15
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                                   1            This rule has strong reasons behind it. As the Federal Circuit has recognized, enablement

                                   2   should not “require the inventor to foresee every means of implementing an invention at pains of

                                   3   losing his patent franchise.” Invitrogen Corp. v. Clontech Labs., Inc., 429 F.3d 1052, 1071 (Fed.

                                   4   Cir. 2005). “Were it otherwise, claimed inventions would not include improved modes of

                                   5   practicing those inventions,” and patent rights “would rapidly become worthless as new modes of

                                   6   practicing the invention developed.” Id. For example, under Moore’s law, chip size generally

                                   7   decreases every year. If patents were required to enable unclaimed features, an accused infringer

                                   8   could avoid liability simply by construing the claims to be limited to the chip size enabled at the

                                   9   time of the invention. But the Federal Circuit has consistently held that “after-arising technology”

                                  10   may be “captured within the literal scope of valid claims that are drafted broadly enough.”

                                  11   Innogenetics, N.V. v. Abbott Labs., 512 F.3d 1363, 1371-72 (Fed. Cir. 2008).

                                  12            Here, the claims of the ’327 and ’511 Patents recite a “receiver”—not “a receiver having a
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                                  13   demodulator.” Hence, the patents need only enable one mode of making and using the invention

                                  14   having a “receiver.” Edwards, 699 F.3d at 1309. An admission that the specification does not

                                  15   enable additional components, such as a demodulator, thus does not clearly render the full scope

                                  16   of the claims non-enabled. See CFMT, 349 F.3d 1338 (finding claims reciting “cleaning” enabled

                                  17   even if some levels of cleanliness were not). In any case, the issue is not nearly clear enough to

                                  18   justify limiting the scope of the claims absent prosecution disclaimer. See Pfizer, Inc. v. Teva

                                  19   Pharmas., USA, Inc., 429 F.3d 1364, 1376 (Fed. Cir. 2005) (declining to construe term to preserve

                                  20   validity where party failed to present sufficient evidence of invalidity); see also Hill-Rom Serv.,

                                  21   Inc. v. Stryker Corp., 755 F.3d 1367, 1374 (Fed. Cir. 2014) (“Courts should be cautious not to

                                  22   allow claim construction to morph into mini-trial on validity.”).

                                  23            Accordingly, the Court construes “receiver” as “receiver without a demodulator” in the

                                  24   ’898 Patent and provides no construction for the term in the ’397 and ’511 Patents.

                                  25   //

                                  26   //

                                  27   //

                                  28
                                                                                        16
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                                       D.        “receiver configured . . . to convert the second optical signal to output data”
                                   1
                                                 Oyster’s Proposed Construction                     Ciena’s Proposed Construction
                                   2
                                           “receiver” as “receiver without a demodulator” “a receiver that converts the second optical
                                   3
                                                                                          signal from optical to electronic form to
                                   4       Otherwise, no construction necessary           recover the data carried by the second optical
                                                                                          signal”
                                   5

                                   6             The term “receiver configured . . . to convert the second optical signal to output data”

                                   7   appears in claims 1 and 14 of the ’898 Patent. The parties have two disputes: first, the parties

                                   8   disagree whether the optical signals must be converted to “electronic form,” and second, Ciena

                                   9   seeks clarification that the output data reflects the data encoded in the second optical signal.

                                  10             As to the first dispute, Oyster is plainly correct. Although the specification describes

                                  11   converting the second optical signal to electronic form, it uses no words of exclusion (such as “the

                                  12   present invention”) that would suggest the invention is limited to such embodiments. (See ’898
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                                  13   Patent at 1:32-35, 1:42-46, 5:2-5.) Nor did Oyster limit this ordinary meaning through disclaimer.

                                  14   During the ’898 Patent IPRs, Oyster described the specification in the “overview of the patent,”

                                  15   but did not suggest that the claims were limited to the written description.6 (See Dkt. No. 100-9

                                  16   (“IPR2018-00070 Prelim. Resp.”) at 24, 28.)

                                  17             For the second dispute, Ciena appears to be correct that “output data” refers to data

                                  18   encoded in the second optical signal. The specification explains that traditional transceivers

                                  19   transmit optical signals “representative of electronic data stream” and use a photodiode to “convert

                                  20   the optical signals back into the electronic data stream” at the receiver. (’898 Patent at 1:27-35.)

                                  21   The embodiments show that the receiver “converts the optical signal from optical to electronic

                                  22   form to recover the electronic data stream 34.” (Id. at Fig. 2, 5:2-5.) The claims similarly recite

                                  23   “generat[ing] a first optical signal as a function of the input data” and “convert[ing] the second

                                  24   optical signal to output data” (where, presumably, the second optical signal is also a “function” of

                                  25   the data). (Id. at claims 1, 14; accord id. at Fig. 2.)

                                  26
                                  27   6
                                        Oyster’s statements in the ’511 Patent IPR have no relevance because the ’511 Patent claims
                                  28   expressly require conversion to “electronic output data.” (See ’511 Patent at claim 1; Dkt. No.
                                       100-19 at 44-46.)
                                                                                       17
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                                   1          Accordingly, the Court construes “output data” as “the data encoded in the second optical

                                   2   signal,” but provides no construction for the rest of the term.

                                   3   E.     “phase modulate” / “phase modulator”
                                   4
                                              Oyster’s Proposed Construction                      Ciena’s Proposed Construction
                                   5
                                        “alter the phase of light to create an optical     “alter the phase of light while keeping the
                                   6    signal having a phase that is representative of    amplitude of the light constant to create an
                                        data. Use of phase modulation excludes use of      optical signal having a phase that is
                                   7    amplitude modulation.”                             representative of data.”

                                   8
                                              The terms “phase modulate” or “phase modulator” appear in asserted claims 3, 16, 27, and
                                   9
                                       37 of the ’327 Patent, as well as claim 9 of the ’511 Patent and claims 3 and 17 of the ’898 Patent.
                                  10
                                       The parties dispute whether phase modulation allows for amplitude changes. Although both
                                  11
                                       parties agree that phase modulation uses phase (not amplitude) to communicate, Ciena argues that
                                  12
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                                       amplitude must be kept constant based on the following disclosure in the specification:
                                  13
                                              The transceiver of the present invention preferably operates in a phase-modulated
                                  14          mode . . . . The phase-modulated signals have the advantage that breach detection by
                                              the energy level detector work[s] more effectively, since the amplitude of the optical
                                  15          signal is constant and thus a drop in the optical signal level is more easily detected.
                                  16
                                       (’327 Patent at 4:39-47.)
                                  17          In the Texas litigation, the court initially construed “phase modulation” to require “keeping
                                  18   the amplitude of the light constant,” consistent with Ciena’s construction. Oyster Optics, 2017
                                  19   WL 6026729, at *8. However, when defendants moved for summary judgment on this limitation,
                                  20   the court clarified that its construction only meant to exclude amplitude modulation, not to require
                                  21   keeping amplitude constant. Oyster Optics, 2018 WL 3067727, at *5. The court found Oyster’s
                                  22   evidence on summary judgment consistent with that interpretation. Id. at *6-8. Oyster’s evidence
                                  23   showed that “phase modulation may involve transient variations in amplitude that are not involved
                                  24   in representing data” but rather resulted from “technical limitations in practical implementations.”
                                  25   Id. at *6. Defendants’ experts in that case admitted that amplitude may inadvertently change
                                  26   between shifts in phase modulation such that requiring constant amplitude would exclude most
                                  27   commercial embodiments. Id. at *6-7.
                                  28
                                                                                          18
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                                   1           While giving reasoned deference to the Texas court’s interpretation,7 the Court respectfully

                                   2   disagrees that the statements in the specification are limited to disparagement of amplitude

                                   3   modulation. As quoted above, the specification does not merely criticize amplitude modulation—

                                   4   it affirmatively characterizes phase modulation as having constant amplitude. (See ’327 Patent at

                                   5   4:39-47.) The Court cannot ignore the patentee’s own understanding of the claim terms, which

                                   6   must guide claim construction even if not fully correct. See UltimatePointer, L.L.C. v. Nintendo

                                   7   Co., Ltd., 816 F.3d 816, 823-35 (Fed. Cir. 2016) (affirming a construction narrower than the

                                   8   ordinary meaning of a claim term based on characterization in the specification). Moreover, there

                                   9   is no reason why amplitude changes made for purposes of modulation would interfere with tap

                                  10   detection, but those made for other reasons would not. Cf. Paragon Solutions, LLC v. Timex

                                  11   Corp., 566 F.3d 1075, 1090-91 (Fed. Cir. 2009) (rejecting use limitations in apparatus claims).

                                  12   Accordingly, the Court construes “phase modulation” to give meaning to the statement that “the
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                                  13   amplitude the [phase modulated] optical signal is constant.”

                                  14           As an initial matter, the fact that constant amplitude is hard to achieve in real life does not

                                  15   defeat the patentee’s characterization. Courts have frequently dealt with technically challenging

                                  16   or even impossible statements by adding nuance to claim construction. For example, in Paragon

                                  17   Solutions, the claims recited “displaying real-time data.” 566 F.3d at 1087. After reviewing the

                                  18   evidence, the court concluded that “‘real-time’ cannot mean instantaneous” because the claims

                                  19   require operations (such as data transmission) that would necessarily take time. Id. at 1088. The

                                  20   court then construed “displaying real time data” as “displaying data without intentional delay,

                                  21   given the processing limitations of the system and the time required to accurately measure data.”

                                  22   Id. at 1092. Similarly, in Power Integrations, Inc. v. Fairchild Semiconductor International, Inc.,

                                  23   904 F.3d 965, 972 (Fed. Cir. 2018), the court interpreted “fixed switching frequency” as

                                  24   permitting “natural variation” in frequency to avoid rendering the claims inoperable. Absolute

                                  25   statements may thus allow “natural” deviations to preserve the operability of the invention.

                                  26
                                       7
                                  27     Finjan, Inc. v. Symantec Corp., No. 14-cv-02998-HGS, 2017 WL 550453, at *3 (N.D. Cal. Feb.
                                       10, 2017). But see Aircraft Technical Pub’rs v. Avantext, Inc., No. C 07-4154 SBA, 2009 WL
                                  28   3817944, at *3 (N.D. Cal. Nov. 10, 2009) (noting that courts have a duty to render an
                                       “independent judgment” on claim construction).
                                                                                       19
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                                   1            Here, the intrinsic evidence makes clear that perfect amplitude constancy is not required.

                                   2   The common specification shows an energy level detector in Figure 3 that includes components

                                   3   designed to address minor changes in amplitude. (See ’327 Patent at Fig. 3.) First, the energy

                                   4   level detector includes a filter “to provide the average voltage level which represents the average

                                   5   optical power measured by photodetector 153.” (Id. at 5:34-37.) The claims of the ’511 Patent

                                   6   require such a filter even when using phase modulation, which suggests that phase modulation

                                   7   allows minor variations in amplitude. (See ’511 Patent at claim 9.) Second, the energy level

                                   8   detector includes a plurality of thresholds, which are required by the claims of the ’327 and ’898

                                   9   Patents. (See id. at 5:59-67; ’327 Patent at claims 1, 14, 25; ’898 Patent at claims 1, 14.) The

                                  10   existence of thresholds implies that some “sub-threshold” changes in amplitude are permissible

                                  11   and would still allow the energy level detector to “work more effectively” than with amplitude

                                  12   modulation, consistent with the specification.8 (’327 Patent at 4:39-47.)
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                                  13            In light of this evidence, the Court interprets phase modulation to require “substantially,”

                                  14   rather than “perfectly,” constant amplitude. Because the term “substantially” may raise issues of

                                  15   indefiniteness if not cabined by the intrinsic evidence, “substantially” is interpreted to fulfill the

                                  16   purpose of allowing the energy level detector to work more effectively by permitting only minor

                                  17   variations not detected by the energy level detector. At the claim construction hearing, the parties

                                  18   agreed that real-world phase modulators would satisfy this requirement because they produce only

                                  19   minor and undetectable amplitude variations. Further, since forces other than phase modulation

                                  20   may affect amplitude, the Court modifies the construction to focus on the effects of phase

                                  21   modulation itself, rather than the final form of the modulated signal.

                                  22            Accordingly, the Court construes “phase modulate” as to “alter the phase of light without

                                  23   substantially altering amplitude to create an optical signal having a phase that is representative of

                                  24   data.” “Substantially altered” means that amplitude changes are detectable by the energy level

                                  25   detector.

                                  26   //

                                  27
                                       8
                                  28     Both parties rely on extrinsic evidence. The Court has reviewed that evidence, but finds that it
                                       lacks sufficient clarity to be useful for claim construction.
                                                                                          20
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                                       F.     “a transmitter having a laser, a modulator, and a controller”
                                   1
                                               Oyster’s Proposed Construction                       Ciena’s Proposed Construction
                                   2
                                        No construction necessary:                          “a transmitter having a laser, modulator, and a
                                   3
                                        “a transmitter having a laser, a modulator, and     controller located within the transmitter.”
                                   4    a controller.”

                                   5          The term “a transmitter having a laser, a modulator, and a controller” appears in claims 1,
                                   6   14, 25, and 36 of the ’327 Patent, as well as claims 1 and 14 of the ’898 Patent.
                                   7          The parties dispute whether the laser, modulator, and controller must be located within the
                                   8   transmitter. Ciena argues that the plain meaning of “having” suggests that they are. Moreover,
                                   9   the specification shows the recited elements located on the transmitter, and further states that the
                                  10   transceiver card is designed to be swappable, which would not be possible if components were
                                  11   located outside of the card. (See ’898 Patent at Fig. 2, 2:26-29, 6:36-42, 4:32-43.) Further, the
                                  12   specification states that “[t]he laser amplitude modulator and laser . . . define a transmitter for
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                                  13   transmitting the optical signal over an optical fiber.” (Id. at 1:30-32.) The specification thus
                                  14   suggests that the laser and modulator must be located on the transmitter (as the defining elements
                                  15   of that transmitter) and that the controller must be located, at least, on the transceiver card.
                                  16          The prosecution history confirms this understanding. During the IPRs for the ’898 and
                                  17   ’327 Patents, Oyster distinguished prior art that had an external laser by arguing that the claims
                                  18   required the laser to be located on the transmitter. (See Dkt. No. 100-12 (“IPR2017-01870 Prelim.
                                  19   Resp.”) at 20-21; Dkt. No. 100-17 (“IPR2017-01871 Prelim. Resp.”) at 23-25.) The examiner
                                  20   agreed with Oyster’s interpretations, citing a dictionary that defined “having” as “to hold, include,
                                  21   or contain as a part or whole.” (IPR2018-00070 Institution Decision at 17.) Oyster thus argues
                                  22   that disclaimer, in addition to the ordinary meaning, limits “having” to “including within.”
                                  23          Oyster does not substantively dispute this evidence, but argues that the ordinary meaning
                                  24   of the term should be construed as the examiner found it—“to hold, include, or contain as a part
                                  25   or whole.” (Id. (emphasis added).) Whatever the merits of dictionary definitions, the one here
                                  26   appears to go beyond the meaning apparent from context provided by the intrinsic evidence. Cf.
                                  27   Phillips, 415 F.3d at 1321 (explaining that dictionaries, by their nature, will be broader than the
                                  28   construction required by the patent). Despite citing the dictionary, the examiner ultimately
                                                                                          21
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                                   1   adopted the construction of “having” as “holding, including, or containing.” (IPR2018-00070

                                   2   Institution Decision at 18.) Moreover, Oyster interpreted “having” in the IPRs as excluding

                                   3   external elements. (IPR2017-01871 Prelim. Resp. at 21.) Finally, the specification “defines”

                                   4   transmitters through the components. (’898 Patent 1:30-32.) Thus, to the extent that some parts of

                                   5   the transmitter may extend beyond its boundaries, they must still be substantially “contained” by

                                   6   the transmitter to constitute the same component.

                                   7           Accordingly, the Court construes “transmitter having a laser, a modulator, and a

                                   8   controller” as a “transmitter containing a laser, a modulator, and a controller.”9

                                   9                                             CONCLUSION

                                  10           Based on the analysis set forth above, the Court adopts the foregoing constructions of the

                                  11   disputed terms. The Court SETS a further case management conference for September 4, 2020, at

                                  12   11:00 a.m. The parties are HEREBY ORDERED to submit a further joint case management
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                                  13   report pursuant to Patent Standing Order ¶ 13 by no later than August 28, 2020.10

                                  14

                                  15           IT IS SO ORDERED.

                                  16   Dated: August 10, 2020

                                  17                                                    ____
                                                                                           ____________________
                                                                                           __                   ______________________
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                                        The Court fails to detect a substantive difference between “holding,” “including,” and
                                  25   “containing,”—all of which appear to refer to the transmitter physically encompassing the
                                       components—and thus adopts a construction based on “containing.” See Ecolab, Inc. v.
                                  26   Paraclipse, Inc., 285 F.3d 1362, 1374 (Fed. Cir. 2002) (“The ordinary meaning of ‘contain’ is ‘to
                                       have within.’” (citing dictionary)).
                                  27   10
                                          Ciena seeks to seal certain exhibits designated as confidential by Oyster and a third party. (Dkt.
                                  28   No. 99.) The designating parties have not filed supporting declarations. Accordingly, the motion
                                       to seal is DENIED. See Civ. L. Rule 75-5(e).
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